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                                   UNITED STATES DISTRICT COURT

                                  NORTHERN DISTRICT OF CALIFORNIA

                                           CRIMINAL MINUTES

 Date: January 14, 2019             Time: 1:35-1:40 pm                       Judge: Edward J. Davila
                                    Total Time: 5 Mins.
 Case No.: 18-cr-00258-EJD- Case Name: UNITED STATES v. Elizabeth A. Holmes(P)(NC), Ramesh
 1,2                                Sunny Balwani(P(NC)
Attorney for Plaintiff: John Bostic, Robert Leach, Jeffrey Schenk
Attorney for Defendant: Lance Wade(Holmes), Jeffrey Coopersmith, Mark Bartlett, Kelly
Gordon(Balwani)

  Deputy Clerk: Adriana M. Kratzmann                      Court Reporter: Irene Rodriguez

  Interpreter: N/A                                        Probation Officer: N/A

                                 PROCEEDINGS – STATUS CONFERENCE

Defendants are present and out of custody. Hearing held.
The Government updated the Court as to the status of the discovery in this matter. There is approx. a total of 16-
17 million pages of discovery in this matter. The Government anticipates receiving another batch of discovery
sometime in the next week or so. The Government indicated it is nearing the end of the production of discovery.
Counsel confirmed with the Court that it found and ordered the case is complex at the last hearing on 10/15/2018.
Counsel requested the matter be continued to allow for production and review of discovery.
The Court granted the request and continued the matter to 4/22/2019.
Pursuant to 18 U.S.C. §3161(h)(7)(A), the Court found the ends of justice served in granting the continuance
outweighed the best interests of the public and the defendant in a speedy trial and excluded time from 1/14/20/19
through and including 4/22/2019. For the reasons stated on the record, time is excluded pursuant to 18 U.S.C.
§3161(h)(7)(A) and (B)(iv).

CASE CONTINUED TO: April 22, 2019 1:30 P.M. for Further Status Conference.

EXCLUDABLE DELAY:
Category – Case is complex and effective preparation of Counsel.
Begins – 1/14/2019
Ends – 4/22/2019




                                                                                                 Adriana M. Kratzmann
 P/NP: Present, Not Present
                                                                                                     Courtroom Deputy
 C/NC: Custody, Not in Custody
                                                                                                        Original: Efiled
 I: Interpreter
                                                                                                                   CC:
